        Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 1 of 20



                                                                  BEG EV ED
                                                                                       01A
                                                                           -8 A
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF AC'çET1"
                                 NORTHERN DIVISION

JERRY W. CHAPPELL, as
Administrator of the Estate of WENDY
CIIAPPELL PRICE, Deceased,
                                                        CIVIL ACTION NUMBER: .2:          fl-c v-3
       Plaintiff,

VS.


CHILTON COUNTY; CITY OF                                 JURY TRIAL DEMANDED
CLANTON; ADAM EZEKIEL, in his
individual capacity; JESSICA MIMS,
in her individual and official capacity;
JASON REEVES, in his individual and
official capacity; JOHN SHEARON,
in his individual and official capacity,
J. KEITH MADDOX, in his
individual and official capacity; and
DOES 1-10,

       Defendants.

                                           COMPLAINT

       COMES NOW the plaintiff in the above-styled cause, by and through his undersigned

attorneys, and for his complaint against the defendants herein says, alleges, and avers as follows:

                                      Nature of this Action

               This is an action, under and pursuant to 42 U.S.C. § 1983 and the Alabama

Wrongful Death Act, Ala. Code § 6-5-410, for actual, compensatory, punitive, and other

damages, as appropriate, arising from the shooting death of plaintiff's decedent Wendy Chappell

Price on June 17, 2015, in which at least 17 shots were fired at her while she was inside her
       Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 2 of 20




stationary vehicle by sworn law enforcement officers of defendants Chilton County and the City

of Clanton, as well as the State of Alabama.

       2.      Plaintiff alleges that the named individual defendants, all of whom are sworn law

enforcement officers, Adam Ezekiel, Jessica Mims, and Jason Reeves, together with others

whose names and identities are otherwise unknown but are law enforcement officers for Chilton

County, the City of Clanton, and/or the State of Alabama, acting alone or in concert and

conspiracy with other defendants, willfully, intentionally, maliciously, in bad faith, negligently,

beyond their authority as law enforcement officers, or with deliberate indifference to the

substantial and clearly-defined rights of Wendy Chappell Price to be free of the use of excessive

force against her, used objectively unreasonable force when they shot and killed Ms. Price, and

thereafter, acting alone or in concert and conspiracy with other defendants, attempted to and

participated in an attempt to hide, cover-up, or evade responsibility for the death of Ms. Price by

making, endorsing, or corroborating false statements regarding the circumstances surrounding

her death.

       3.      Plaintiff further alleges that sworn law enforcement supervisory officer

defendants John Shearon, individually and in his official capacity as Sheriff of Chilton County,

and J. Keith Maddox, individually and in his official capacity as Acting Chief of Police of the

City of Clanton, together with one or more of the fictitiously-described defendants, are policy-

makers for their respective agencies and are liable as supervisors of other defendants under 42

U.S.C. § 1983 for the acts resulting in the death of Wendy Chappell Price, and further, acting

alone or in concert and/or conspiracy with other defendants, attempted to and participated in an

attempt to hide, cover-up, or evade responsibility for the death of Ms. Price by making,

endorsing, or corroborating false statements regarding the circumstances surrounding her death.


                                                  2
        Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 3 of 20




        4.     Plaintiff alleges that the governmental entity defendants together with defendants

Shearon, Maddox, and certain of the fictitiously described defendants, are liable under 42 U.S.C.

§ 1983 because of their promulgating, implementing, or allowing a policy, procedure, custom, or

practice relating to the use of deadly force by law enforcement officers in similar circumstances

in deliberate indifference to the substantial and clearly-defined rights of the victim to be free

from unreasonable seizure, as secured by the Fourth Amendment of the Constitution of the

United States, that explicitly or implicitly permitted, authorized, condoned, ratified, permitted, or

allowed the use of excessive force against Ms. Price, which culpable conduct proximately

caused or contributed to cause Ms. Price's death.

        5.     Furthermore, plaintiff alleges that the governmental entity defendants are

vicariously liable under Ala. Code § 6-5410 as the employer or principal of one or more of the

named or fictitiously-described individual defendants.

        6.     As to all claims for relief, plaintiff alleges that certain agents, employees, or

representatives of the governmental entity defendants, whose names are otherwise unknown to

plaintiff at this time and identified as Doe Defendants 1 through 10, culpably acted or failed to

act with regard to the events leading to Ms. Price's shooting death, and those actions or failures

to act proximately caused or contributed to cause said death as herein described.

                                      Jurisdiction and Venue

        7.     This Court has original jurisdiction over plaintiff's Fourth Amendment claim

under 42 U.S.C. § 1983 pursuant to 42 U.S.C. § 1988(a). The Court has supplemental

jurisdiction, including pendent party jurisdiction pursuant to 28 U.S.C. § 1367(a) as to plaintiff's

wrongful death claim under Ala. Code § 6-5-410.




                                                  3
           Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 4 of 20




       8.        Venue in this district is proper under 28 U.S.C. § 1391(a) because a substantial

part of the events or omissions giving rise to the claims herein asserted occurred in Chilton

County in this district. Plaintiff's decedent died in Chilton County in this district as a proximate

result and consequence of the defendants' wrongful and culpable acts and omissions as herein

alleged.

                                             Exhaustion

       9.        Plaintiff timely filed verified claims with defendants Chilton County and City of

Clanton, pursuant to Ala. Code § 6-5-20, 11-12-5, 11-12-6, 11-12-8, 1147-23, and 1147-192.

Bishop v. Chilton County, 990 So.2d 287 (Ala 2008). Those claims were not acted upon by the

said governmental entities and were denied by operation of law on May 4, 2017.

                                               Parties

           10.   Plaintiff Jerry W. Chappell is an adult resident of Shelby County, Alabama.

Plaintiff was appointed administrator and personal representative of the estate of Wendy

Chappell Price by the Probate Court of Shelby County on November 28, 2016. Plaintiff brings

this action, under and pursuant to 42 U.S.C. § 1983 and Ala. Code § 6-5-410, as the lawfully

appointed administrator and personal representative of the Estate of Wendy Chappell Price,

Deceased.

           11.   Defendant Chilton County is an Alabama governmental entity that at the times

relevant to this action, employed defendants Jessica Mims and Jason Reeves as Sheriff's

deputies. Certain of the fictitiously-described individual defendants also may have been

employed by defendant Chilton County.

       12.       Defendant City of Clanton ("Clanton") is an Alabama governmental entity located

in Chilton County, Alabama. At the times relevant to this action, defendant Jason Reeves was


                                                  4
        Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 5 of 20




employed by defendant Clanton as a part-time police officer. Certain of the fictitiously-described

individual defendants also may have been employed by defendant Clanton.

        13.    Defendant Adam Ezekiel is an adult and believed to be a resident within this

judicial district. At the times relevant to this action, defendant Ezekiel was employed by the State

of Alabama as a State Trooper. At all times relevant to this action, defendant Ezekiel was acting

under color of state law and was acting in his role as a sworn law enforcement officer. Defendant

Ezekiel is sued in his individual and personal capacity. As hereafter alleged, defendant Ezekiel,

in his individual capacity but while acting under color of law, acting alone or in combination,

concert, and conspiracy with other defendants, caused or contributed to cause the death of

Wendy Chappell Price in violation of 42 U.S.C. § 1983 and Ala. Code §, 6-5 -410, and thereafter

took actions or made Statements to obfuscate and mislead the official investigations into the said

death in an effort and attempt to hide, covet-up, or evade responsibility for the death of Ms. Price

by making, endorsing, or corroborating false statements regarding the circumstances surrounding

her death.

        14.    Defendant Jessica Mims is adult and believed to be a resident within this judicial

district. At the times relevant to this action, defendant Mims was employed by defendant Chilton

County as a Sheriff's deputy. At all relevant times, defendant Mims was acting under color of

state and municipal law, including the ordinances, rules, regulations, policies, procedures, and

directives of defendant Chilton County, and the particular policies, procedures, rules, regulations,

and directives of the Chilton County Sheriff's Department. Defendant Mims is sued in both her

individual and personal capacity and in her capacity as a sworn law enforcement officer, agent,

and employee of defendant Chilton County. As hereafter alleged, defendant Mims, in her

individual capacity and official capacity as a sworn law enforcement officer, and while acting
       Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 6 of 20




under color of law, alone or in combination, concert, and conspiracy with other defendants,

caused or contributed to cause the death of Wendy Chappell Price in violation of 42 U.S.C. §

1983 and Ala. Code § 6-5-410, and thereafter took actions or made statements to obfuscate and

mislead the official investigations into the said death in an effort and attempt to hide, cover-up,

or evade responsibility for the death of Ms. Price by making, endorsing, or corroborating false

statements regarding the circumstances surrounding her death.

        15.    Defendant Jason Reeves is adult and believed to be a resident within this judicial

district. At the times relevant to this action, defendant Reeves was employed by defendant

Chilton County as a Sheriff's deputy and as a part-time police officer of defendant Clanton. At

all relevant times, defendant Reeves was acting under color of state and municipal law, including

the ordinances, rules, regulations, policies, procedures of and directives of defendants Chilton

County and Clanton and the particular policies, procedures, rules, regulations, and directives of

the Chilton County Sheriffs Department and the Clanton Police Department. Defendant Reeves

is sued in both her individual and personal capacity and in his capacity as a sworn law

enforcement officer, agent; and employee of defendants Chilton County and Clanton. As

hereafter alleged, defendant Reeves, in his individual capacity and official capacity as a sworn

law enforcement officer, and while acting under color of law, acting alone or in combination,

concert, and conspiracy with other defendants, caused or contributed to cause the death of

Wendy Chappell Price in violation of 42 U.S.C. § 1983 and Ala. Code § 6-5-410, and thereafter

took actions or made statements to obfuscate and mislead the official investigations into the said

death in an effort and attempt to hide, cover-up, or evade responsibility for the death of Ms. Price

by making, endorsing, or corroborating false statements regarding the circumstances surrounding

her death.



                                                  n.
        Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 7 of 20




        16.     Defendant John Shearon is adult and believed to be a resident within this judicial

district. At the times relevant to this action, defendant Shearon was the Sheriff of Chilton

County. At all relevant times, defendant Shearon was acting under color of state and municipal

law, including the ordinances, rules, regulations, policies, procedures, and directives of

defendant Chilton County, and the particular policies, procedures, rules, regulations, and

directives of the Chilton County Sheriff's Department. Defendant Shearon is sued in both his

individual and personal capacity and in his capacity as a sworn law enforcement officer, agent,

and employee of defendant Chilton County. Defendant Shearon had direct control of the

operations and management of the Chilton County Sheriff's office, including his deputies, and is

and was at the times relevant to this complaint a policy-maker and decision-maker responsible

for the culpable actions and culpable or negligent failure to act by persons therein. Together

with defendant Chilton County itself; defendant Shearon was responsible for promulgating,

implementing, and enforcing all policies and procedures applicable to operation and management

of his office and deputies and, particularly as applied to this action, policies, procedures, rules,

regulations, customs, and practices relating to the use of deadly force by his deputies.

Furthermore, defendant Shearon was, at all times relevant to this complaint, responsible for

ensuring the use of constitutionally permissible force by his deputies in circumstances similar to

the facts at issue in this case.

        17.     Defendant J. Keith Maddox is adult and believed to be a resident within this

judicial district. At the times relevant to this action, defendant Maddox was the Acting Chief of

Police for defendant Clanton, and is now the Chief of Police for defendant Clanton. At all

relevant times, defendant Maddox was acting under color of state and municipal law, including

the ordinances, rules, regulations, policies, procedures, and directives of defendant Clanton, and


                                                   7
        Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 8 of 20




the particular policies, procedures, rules, regulations, and directives of the Clanton Police

Department. Defendant Maddox is Sued in both his individual and personal capacity and in his

capacity as a sworn law enforcement officer, agent, and employee of defendant Clanton.

Defendant Maddox had direct control of the operations and management of the Clanton Police

Department, including its police officers, and is and was at the times relevant to this complaint

responsible for the culpable actions and culpable or negligent failure to act by persons therein.

Together with defendant Clanton itself defendant Maddox was a policy-maker and decision-

maker responsible for promulgating, implementing, and enforcing all policies and procedures

applicable to operation and management of his department and its police officers and,

particularly as applied to this action, policies, procedures, rules, regulations, customs, and

practices relating to the use of deadly force by Clanton police officers. Furthermore, defendant

Maddox was, at all times relevant to this complaint, responsible for ensuring the use of

constitutionally permissible force by Clanton police officers in circumstances similar to the facts

at issue in this case.

        18.     As to all claims for relief plaintiffs allege that certain agents, employees, or

representatives of defendants Clanton and Chilton County and/or the State of Alabama, whose

names are otherwise unknown to plaintiff at this time and identified as Doe Defendants 1

through 10, culpably acted or negligently failed to act and whose actions or failures to act

proximately caused or contributed to cause Ms. Price's death as herein described.

        19.     Particularly, Doe Defendants 1 through 10 include, but are not limited to, those

individuals who, directly or as supervisors of defendants Ezekiel, Mims, and/or Reeves, were

responsible for (a) developing, implementing, and enforcing policies and procedures regarding

the use of deadly force by those defendants, (b) training and ensuring compliance by those


                                                   8
        Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 9 of 20




defendants with the said policies and procedures, and (c) allowed or failed to terminate a custom

or practice that permitted those defendants to use objectively unreasonable deadly force against

Wendy Chappell Price as herein alleged.

        20.     Doe Defendants 1 through 10 further include, but are not limited to, other sworn

law enforcement officers and individuals who (a) participated in the shooting of Wendy Chappell

Price as alleged, (b) failed to act to prevent or terminate the other defendants' use of objectively

unreasonable force with regard to Ms. Price, and (c) attempted to and participated in an attempt

to hide, cover-up, or evade responsibility for the death of Ms. Price by making, endorsing, or

corroborating false statements regarding the circumstances surrounding her death.

        21.     The fictitiously-described Doe Defendants I through 10, each of whom was at the

times relevant to this action a sworn law enforcement officer, or non-sworn law enforcement

supervisory employee of a named governmental entity defendant or the State of Alabama, acting

alone or in combination, concert, and conspiracy with other defendants, caused or contributed to

cause, or set in motion a chain of events that foreseeably led to the death of Wendy Chappell

Price in violation of 42 U. SC. § 1983 and Ala. Code § 6-5-410 as hereafter alleged, and/or

thereafter took actions or made statements to obfuscate and mislead the official investigations

into the said death in an effort to cover-up and hide the true facts relating thereto in order to

avoid liability for their actions.

        22.     The true names of the fictitiously-described defendants Does 1 through 10 are

presently unknown to plaintiff as well as the negligent or culpable actions or failures to act

attributable to them.

        23.     Plaintiff expects that the names and culpable actions or làilures to act of the

fictitiously-described defendants will be obtained during discovery in this action, at which time
       Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 10 of 20




plaintiff will substitute, or seek leave of Court to substitute, those individuals for one or more

fictitiously-described defendant.

                           Allegations Common to-All Claims for Relief

       24.     On June 17, 2015, Wendy Chappell Price was driving her vehicle southbound on

1-65 in Shelby County and was being pursued by an Alabama State Trooper because she

allegedly failed to stop at the Trooper's order. The Trooper also was apparently told by Adam

Price, Wendy Chappell Price's husband, that there were two firearms, a revolver and a pistol, in

the car driven by Wendy Chappell Price but that Adam Price had emptied both weapons and that

they were unloaded. Wendy Chappell Price was lawfully in possession of the weapons and had a

pistol license allowing her to carry the weapons concealed in her vehicle or on her person.

       25.     Officers of the City of Alabaster Police Department as well as other unknown

agencies informed the Chilton County Sheriff's Department and the City of Clanton Police

Department of the pursuit. Deputies and officers of defendants Chilton County and Clanton,

including, but not necessarily limited to, defendants Mims and Reeves, together with defendant

Ezekiel, determined to stop the vehicle driven by Wendy Chappell Price at the exit ramp for Exit

212 off 1-65 southbound.

       26,.    Sometime after 8:00 P.M. and before 10:00 P.M. on June 17, 2015, Wendy

Chappell Price's vehicle was stopped by law enforcement officers at or near the Exit 212 exit

ramp. Wendy Chappell Price did not exit her vehicle.

       27.     At that time and place, one or more of the law enforcement officers at the

location, defendants Ezekiel, Mims, and Reeves, together with others whose names and identities

are otherwise unknown at this time, fired their weapons approximately 17 times at Wendy

Chappell Price while she was sitting in her vehicle with the windows up. Ms. Price was struck


                                                  10
       Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 11 of 20




by four (4) of the bullets fired by the defendants and died from the gunshot wounds at the Scene

in her vehicle.

       28.        Said defendants' shooting and killing Wendy Chappell Price was without

justification or excuse, objectively unreasonable under the circumstances, and constitutes an

unnecessary use of excessive force that was beyond their authority to employ in this case. Ms.

Price, when she was fatally shot, did not pose, and the law enforcement officers did not have

reason to believe that she posed, a threat to their safety or the safety of others.

       29.        Defendants Ezekiel, Mims, and Reeves, together with others identified as the

fictitious Doe Defendants, alone or in concert and conspiracy, negligently, recklessly, wantonly,

wrongfully, intentionally, acting beyond their authority, or with deliberate indifference to the

substantial rights of Wendy Chappell Price to be free of the use of excessive force against her,

shot and killed Wendy Chappell Price on June 17, 2015.

       30.        Furthermore, at various times after the unjustified shooting and killing of Wendy

Chappell Price, the named individual defendants and certain fictitious defendants identified as

the Doe defendants, acting individually, collectively, or in concert and conspiracy with each

other, and/or as official agents of or speaking for their respective employers, engaged or

participated in, adopted, ratified, or condoned a deliberate campaign of false information to

discredit Wendy Chappell Price in an attempt to justify the shooting and killing of Ms. Price, by

making public and official statements to the effect, among other things, that prior to the shooting,

Ms. Price brandished a weapon at the officers, threatened the officers, fired shots from a weapon

at the officers, exited her vehicle immediately prior to the shooting, and other statements, all of

which were false and were made with the intention of misleading investigators, officials, and the

public and justifying the unreasonable use of force against Ms. Price as described.


                                                   11
       Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 12 of 20




        31.      Alternatively, having a duty to act, the named individual defendants and certain

fictitious defendants identified as the Doe defendants, acting individually, collectively, or in

concert and conspiracy with each other, and/or as official agents   Of or   speaking for their

respective employers, failed to take actions to prevent, terminate, or stop the said campaign of

false information and thereby, through their silence and failure to act, adopted, ratified, or

condoned, the said deliberate campaign of false information to discredit Wendy Chappell Price

in an attempt to justify the shooting and killing of Ms. Price.

                                          Claims for Relief

                                              COUNT I

            Excessive Force in Violation of the Fourth Amendment: 42 U.S.C. § 1983
                 (Defendants Ezekiel, Mims, Reeves and Fictitious Defendants)

       32.       Plaintiff realleges each and every material allegation of this Complaint and

incorporates same by reference into this Count I as if here set out in fill.

       33.       The use of deadly force by defendants Ezekiel, Mims, Reeves, and certain of the

fictitiously-described defendants against Wendy Chappell Price, as alleged above, was excessive

and objectively unreasonable under the circumstances, contrary to Ms. Price's substantial, well-

established, and clearly-defined constitutional right to be free from unreasonable seizure as

secured by the Fourth Amendment of the Constitution of the United States, and in violation of 42

U.S.C. § 1983.

       34.       Ms. Price was killed as a direct and proximate result of these violations.

       35.       Said defendants, in Violating Ms. Price's right to be free from unlawful seizure

under the Fourth Amendment by using excessive and deadly force against her as alleged, acted

with malice and/or reckless indifference to the federally-protected rights of the plaintiff's

decedent.

                                                  12
       Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 13 of 20




        36.     Defendants Ezekiel, Mims, Reeves and/or the fictitiously-described individual

defendants are not afforded immunity protection because a reasonable officer in the same or

similar circumstances would have known that his/her actions would violate Ms. Price's

substantial constitutional rights that were clearly-established and well-defined at the time of the

violations described herein.

                                              COUNT II

            Deliberate Indifference and Supervisory Liability: 42 U.S.C. § 1983
  (Against Defendants Chilton County and Shearon, Clanton and Maddox, and Fictitious
                                       Defendants)

        37.     Plaintiff realleges each and every material allegation Of this Complaint and

incorporates same by reference into this Count II as if here set out in fill.

        38.     Defendants Chilton County and Shearon (the "County defendants"), and

defendants Clanton and Maddox (the "City defendants"), and certain of the fictitious-defendants

with direct decision-making and policy-making authority and implementation and training

duties, have a non-delegable duty to develop, promulgate, implement, and enforce adequate and

substantial policies and procedures, rules, regulations, customs, and practices concerning the use

of force, including the use of deadly force, by law enforcement officers acting for or employed

by Chilton County and Clanton, respectively, that would reasonably protect the substantial,

clearly-established, and well-defined constitutional rights of persons to be free from the use of

excessive or unreasonable force by those law enforcement officers, and to adequately and

consistently train their officers with regard thereto.

       39.     Said defendants knew that, in the absence of such adequate and substantial

policies and procedures, and in the absence of adequate and consistent training, their law

enforcement officers would be presented with real-world situations in which their actions would



                                                   13
       Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 14 of 20




or would likely result in the use of objectively unreasonable and excessive force against persons

they encounter.

       40.     Despite the aforesaid duty, said defendants deliberately failed to promulgate,

implement, or enforce an adequate policy, procedure, rule, regulation, custom or practice, to

reasonably assure that law enforcement officers acting for or employed by them would not

exercise objectively unreasonable and excessive force in the same or similar circumstances as in

this case with regard to plaintiff's decedent Wendy Chappell Price in that they deliberately failed

to take affirmative action to develop, promulgate, implement, and enforce adequate and

substantial policies and procedures, rules, regulations, customs, and practices regarding the use

of force, including the use of deadly force, by law enforcement officers acting for or employed

by Chilton County and Clanton, respectively, that would reasonably protect the substantial,

clearly-established, and well-defined constitutional rights of persons to be free from the use of

excessive or unreasonable force by those law enforcement officers, and to adequately and

consistently train their officers with regard thereto.

       41.     The deliberate failure of said defendants to have, implement, enforce, and monitor

the aforesaid policy constitutes a deliberate choice on the part of those defendants not to take

preventive or corrective action with regard to the use of objectively unreasonable excessive force

and a custom practice, and policy of deliberate indifference to the violation of the plaintiff's

decedent's Fourth Amendment rights as herein alleged in violation of 42 U.S.C. § 1983 that,

taken together or individually proximately caused or contributed to cause, or set in motion an

irreversible chain of events that proximately resulted in, Ms. Price's death.

       42.     Defendant Shearon, as Sheriff of Chilton County and as the official with final

policy-making authority for operation and actions of his deputies, including defendants Mims


                                                  14
       Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 15 of 20




and Reeves, and certain of the fictitious-defendants with direct decision-making and policy-

making authority and implementation and training duties, had the duty and responsibility to

promulgate, implement, or enforce an adequate policy, procedure, rule, regulation, custom or

practice regarding the use of force, including the use of deadly force, by law enforcement

officers acting for or employed by Chilton County that would reasonably protect the substantial,

clearly-established, and well-defined constitutional rights of persons to be free from the use of

excessive or unreasonable force by those law enforcement officers, and to adequately and

consistently train his deputies with regard thereto, and said defendants' culpable actions or

failure to act as alleged proximately caused or contributed to cause, or set in motion an

irreversible chain of events that proximately resulted in, Ms. Price's death.

       43. Defendant Maddox, as Acting Chief of Police of the City of Clanton and as the

official with final policy-making authority for operation and actions of the police officers

thereof; including defendants Reeves, and certain of the fictitious-defendants with direct

decision-making and policy-making authority and implementation and training duties, had the

duty and responsibility to promulgate, implement, or enforce an adequate policy, procedure, rule,

regulation, custom or practice regarding the use of force, including the use of deadly force, by

law enforcement officers acting for or employed by the City ofClanton that would reasonably

protect the substantial, clearly-established, and well-defined constitutional rights of persons to be

free from the use of excessive or unreasonable force by those law enforcement officers, and to

adequately and consistently train his police officers with regard thereto, and said defendants'

culpable actions or failure to act as alleged proximately caused or contributed to cause, or set in

motion an irreversible chain of events that proximately resulted in, Ms. Price's death.




                                                  15
       Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 16 of 20




        44.    In the alternative, defendants Shearon and Maddox, and certain of the fictitious-

defendants with direct decision-making and policy-making authority and implementation and

training duties, by their failure to promulgate, implement, or enforce an adequate policy,

procedure, rule, regulation, custom or practice, to reasonably protect the substantial, clearly-

established, and well-defined constitutional rights of persons to be free from the use of excessive

or unreasonable force by law enforcement officers acting for or employed by their departments,

and to adequately and consistently train those officers with regard thereto, ratified the

unconstitutional use of objectively unreasonable and excessive force by law enforcement officers

acting for or employed by their departments, and said defendants' culpable actions or failure to

act as alleged proximately caused or contributed to cause, or set in motion an irreversible chain

of events that proximately resulted in, Ms. Price's death.

        45.    In the further alternative, defendants Shearon and Maddox, and certain of the

fictitious-defendants with direct decision-making and policy-making authority and

implementation and training duties, by their failure to promulgate, implement, or enforce an

adequate policy, procedure, rule, regulation, custom or practice, to reasonably protect the

substantial, clearly-established, and well-defined constitutional rights of persons to be free from

the use of excessive or unreasonable force by those law enforcement officers, and to adequately

and consistently train their respective officers with regard thereto, set in motion a series of acts

by those law enforcement officers acting for or employed by their departments, including

defendants Mims and Reeves, that said defendants knew or reasonably should have known

would result in said officers inflicting constitutional injury against persons in the same or similar

circumstances as plaintiff's decedent, which injury likely would not have occurred but for said

defendants aforesaid conduct, and said defendants' culpable actions or failure to act as alleged


                                                  16
       Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 17 of 20




proximately caused or contributed to cause, or set in motion an irreversible chain of events that

proximately resulted in, Ms. Price's death.

       46.     In the further alternative, defendants Shearon and Maddox, and certain of the

fictitious-defendants with direct decision-making and policy-making authority and

implementation and training duties, are liable in their individual capacity for their own culpable

conduct or inaction in failing to promulgate, implement, or enforce an adequate policy,

procedure, rule, regulation, custom or practice, to reasonably assure that their respective law

enforcement officers, including defendants Mims and Reeves, were properly trained, supervised,

and monitored to reasonably protect the substantial, clearly-established, and well-defined

constitutional rights of persons to be free from the use of excessive or unreasonable force by

those law enforcement officers, said defendants' culpable actions or failure to act as alleged

proximately caused or contributed to cause, or set in motion an irreversible chain of events that

proximately resulted in, Ms. Price's death.

       47.     The culpable conduct of defendants Shearon and Maddox, as well as certain of the

fictitious defendants, all in their individual capacities, as alleged was malicious, intentional, or

deliberately indifferent to the protected rights of persons similarly situated to plaintiffs decedent

Wendy Chappell Price, as well as Ms. Price herself; and justifies the imposition of punitive

damages against said defendants.




                                                  17
      Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 18 of 20




                                             COUNT ifi

                               Wrongful Death; Ala. Code § 6-5410
                                   (Against All Defendants)

       48.     Plaintiff realleges each and every material allegation of this Complaint and

incorporates same by reference into this Count III as if here set out in full.

       49.     This claim is brought pursuant to Ala. Code § 6-5-410 for damages against

defendants Chilton County, Clanton, Ezekiel, Mims, Reeves, and certain of the fictitiously-

described defendants, jointly and severally, for the wrongful death ofplaintiffls decedent

Wendy Chappell Price.

       50.     The shooting of Ms. Price four times by defendants Adam Ezekiel, Jessica Mims,

Jason Reeves, and/or certain of the fictitiously-described defendants, was the direct and

proximate cause of her death.

       51.     Said defendants' use of deadly force in the circumstances alleged herein were

negligent, careless, reckless, intentional, willful, and/or wanton and were beyond their authority

as law enforcement officers.

       52.     Defendants Chilton County and Clanton are responsible for the actions of its

agents under respondeat superior.

       53.     Furthermore, defendants Chilton County, Clanton, Shearon, Maddox, and certain

of the fictitiously-described are responsible for negligently training and supervising their

employees. The failure by said defendants to adequately train, supervise, and monitor defendants

Mims and Reeves was negligent, careless, reckless, willful, intentional, wanton, and beyond their

authority as governmental employers and policy-making supervisors and proximately caused or

contributed to cause the death of plaintiff's decedent Wendy Chappell Price.




                                                  18
      Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 19 of 20




                                         Prayer for Relief

       WHEREFORE, plaintiff demands judgment against defendants Chilton County, City of

Clanton, Adam Ezekiel, Jessica Mims, Jason Reeves and the fictitiously-described Doe

Defendants Nos. 1 through 10, as follows:

       A.      For actual, compensatory general, special, and incidental damages against in type

and amount determined by the finder of fact based upon the evidence at trial;

       B.      For punitive damages against all defendants except defendants Chilton County

and Clanton, and except when expressly prohibited by law, in an amount determined by the

finder of fact based upon the evidence at trial sufficient to punish the said defendants and to deter

others from engaging in similar misconduct;

       C.      Prejudgment interest at the lawful rate;

       ID.     For costs of suit, expenses, and attorneys' fees pursuant to 42 U.S.C. § 1988, and

as otherwise may be allowed by law; and

       E.      For such other, further, general, and special reliet at law or in equity, to which the

plaintiff may be entitled in the circumstances.

                                           Jury Demand

       Plaintiff demands trial by jury of all issues in this cause properly triable thereby.




                                               Jacoby & Meyers, LLC
                                               1929 Third Aveflue North, Suite 800
                                               Birmingham, Alabama 35203-5009
                                               Telephone: (205) 380-7070
                                               Facsimile: (205) 244-1171


                                                  19
Case 2:17-cv-00370-GMB Document 1 Filed 06/08/17 Page 20 of 20




                            jsiegelmancochranfirm.com
                            The Cochran Firm-Birmingham, P.C.
                            222 Twentieth Street North, Suite 800
                            Birmingham, Alabama 35203
                            Telephone: (205) 244-1115
                            Facsimile: (205) 244-1171

                            Attorneys for Plaintiff




                              20
